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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JUSTIN GUY,
                                                      Case No.: 20-cv-12734
               Plaintiff,
                                                      Hon. Mark A. Goldsmith
  v.

  ABSOPURE WATER COMPANY, LLC,

               Defendant.
                                                /

                    DECLARATION OF DANNIELLE CHILDS

        I, Danielle Childs, hereby declare that the following information is true and

  correct to the best of my personal knowledge and belief:

        1.     I worked as a Driver for Absopure Water Company (hereafter

  “Absopure”).

        2.     I worked for Absopure from December 5, 2019 to the present.

        3.     I understand that the relevant time period in this matter is from October

  7, 2017 to the present.

        4.     Because Absopure does not maintain records, the following

  information is based on my estimates of my hours worked during the relevant time

  period.

        5.     During the relevant time period, I estimate that I began working during

  the average workweek day at 6:00 a.m.
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        6.    During the relevant time period, I estimate that I stopped working

  during the average workweek day at 2:00 p.m.

        7.    During the relevant time period, I estimate that I began working during

  the average weekend day at 6:15 a.m.

        8.    During the relevant time period, I estimate that I stopped working

  during the average weekend day at 11:00 a.m.

        9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

  by work.

        Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

  foregoing statements are true and correct and that I have personal knowledge of the

  information provided above.



         Sep 7, 2023
  Dated: ____________                          __________________________
                                               Dannielle Childs (Sep 7, 2023 16:19 EDT)

                                               DANNIELLE CHILDS




                                           2
